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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                         Case No. 4:12-cr-00020-BLW

                      Plaintiff,
                                                   ORDER
        v.

 JUAN ORTIZ, JR.,

                      Defendant.


       The Court has before it Defendant’s Motion to Continue Sentencing (Dkt. 444).

The motion indicates that it is his second request to continue his sentencing hearing, but it

is his third. Sentencing was originally scheduled for March 5, 2013. Ortiz asked to

continue the sentencing so he could resolve objections to the PSR and potentially request

an evidentiary hearing. (Dkt. 348). The Court granted the motion. (Dkt. 355). Ortiz then

asked for a second continuance based upon the same reasons. (Dkt. 392). The Court

granted that motion as well. (Dkt. 394). Ortiz now asks for a third continuance, based

upon the same reasons. Under these circumstances, the Court does not find good cause to

grant another continuance. The parties have had several months to resolve any objections

and prepare for the sentencing.

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                                       ORDER

      1.    Defendant’s Motion to Continue Sentencing (Dkt. 444) is DENIED. The

            matter is currently set for May 29, 2013 at 3:00-3:30 p.m. If the defendant

            needs additional time for an evidentiary hearing, the Court will schedule the

            hearing for the same date from 3:00-5:00 p.m. Counsel for the defendant

            MUST advise the Court if he needs the additional time by no later than

            May 23, 2013. Counsel should call Jamie Gearhart at (208) 334-9021.

            Otherwise the Court needs to use the additional time for another matter.



                                        DATED: May 22, 2013



                                        B. LYNN WINMILL
                                        Chief U.S. District Court Judge




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